Case: 2j1 7~Cv-00985

Assigned To _~ C

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 1 of 16

 

 

 

AO 241
(Rev. 01/15) q _
PETITION UNDER 28 U.S.C. § 2254 FoR wRIT oF
HABEAS coRPUS BY A PERSoN IN sTATE CUSTo DY ,

ran aaa *-;z 51 or ca
United States Disu~icc court District; Utah, Norfhern " " t

r t ..¢ .- y ..

Docket or Ca“§¥`?zl"v§£.(zf{;T §§ j §i%‘§§

 

;';: w.
1 '

.= ...“»W.,¢W,,». ._.,¢;,;._

"` .~.:::2.§->§

Name (under which you Were convicted):

 

 

 

 

'TL\omaS "5<)3<>_@"\ C`,\A<‘ t ‘s max v\
Place of Conf`lnement : Prisoner No.:
\,é@e-PveE-l UJ¢€»\\ ‘Z`QXQc\e, Po`\?>cm |"\”11% ‘~_/
ReSpOndcn’£ (authorized person having custody of petitioner)

 

Petitioner (include the name under which you were convicted)

names "5<» sack cid/wadman v. arena <‘N u+@~\f\

 

 

 

The Attorney General of the State of:

 

 

 

 

 

ampb€||, Tena

 

 

 

 

 

 

 

 

 

 

PETITION

_C

53

3 . . . . . ,

115 (a) Name and location of court that entered the Judgrnent of conviction you are challenglng.

§§ E"£ G» 14"1`).4 "’SUD'I. cr me \'.Y,C‘SR` R"IC'F C<:>uv~\'*\~
,\ <’J O\@'l© [l`.c;u<`>dr \~\\M\{/ Ll€)
v_ :>' z . ~
31 c \/err\cz,\\ . U‘jvc~\¢\ b“l<§’l${
" m n l / l
§ § (b) Crirnlnal docket or case number (1f you know): 1 903 ®C)(:) é)(_,!
00 -C a Date of the ‘ud ment of conviction if ou know : . , ’
60 <) z J g ( Y > E);»>,g€_ymb@`c \C‘\, 9006
15 g (b) Date of sentencing:
m a ~ '\ 3
S) § Length ofsentence: 1 5 \‘L(`.S ,_1_¢J L` §&
§ § In this case, were you convicted on more than one count or of more than one crime? lI/S`( es Cl No
< c Identify all crimes of which you were convicted and sentenced in this case:

L`<)uni% ( l ~ T§) 11er c>§ ct C`~\r\\\A u-#o\\r\ code "_7 é- $~ L/<!~.:)
good 1 ‘5 §Li ”G\B R edge u'»\_cvc\\ (' ®<\ Q. _Ié \-S "~L{c);)
(’cvu)'\'l~ (|0\ gorc\h)\é %©c§icav¥\\l/ 7¢"“5“"{`[(73
6. (a) What was your plea? (Check one)

(1) Not guilty |'_`l (3) Nolo contendere (no contest)

El (2) Guilty l:l (4) Insanity plea

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 2 of 16

AO 241 Page 3
(Rev. 01/15)

(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to? /\/ //,1

 

 

 

 

 

 

(c) If you went to trial, what kind of trial did you have? (Check one)
M [J Judge only

7. Did you testify at a pretrial hearing, trial, or a post-trial hearing?
l'\Zl/Yes |_`_l No

8. Did you appeal from the judgment of conviction?
D/Yes l:l No

9. If you did appeal, answer the following:

<.a> Name Ofcourt= wm 1»\ deem 0 311 lAWI”;`N_‘-`;>
(b) Docket or case number (if you know): &OG<?C) 963 5 ,, C g

(c) Result: D(,.._J,\ ` €A
(d) Date of result (if you know):

 

(e) Citation to the case (if you know):

(f) Grounds raised: Sm-FUT‘L O§: [_"` N\" X@x\_\`® n 115 1£)£ c ;_~ gcc f ;_., C 5 1 \_!` 91 n

cm C<;Wn\‘s (1-?>”3

"l'é$'\*?mc§r\\l/ c)~l: li<r\?$\~ev\ Lm\‘§on §Mu§ lmP-QQP;>‘;~\>/
O\CX W\`\x"\`€.é \

 

 

 

 

 

 

(g) Did you seek further review by a higher state court? lj Yes lI/l\lo
If yes, answer the following:

(1) Name of court:

 

(2) Docket or case number (if you know):

 

(3) Result:

 

 

(4) Date of result (if you know):

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 3 of 16

AO 241 Page 4
(Rev. 01/15) .

(5) Citation to the case (if you know):

 

(6) Grounds raised:

 

 

 

 

(h) Did you tile a petition for certiorari in the United States Supreme Court? y D Yes E/No
If yes, answer the following:

(l) Docket or case number (if you know):

 

(2) Result:

 

 

(3) Date of result (if you know):

 

(4) Citation to the case (if you know):

 

10. Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court? M/{es [:l No
11. If your answer to Question 10 was "Yes," give the following information:

<a> <1> Name 0me t:;3\Ah o tow \¢X we v X~
(2) Docket or case number (if you know): 1 30 3000 6 L1

 

(3) Date of filing (if you know): ,m 0 V 196 t 9`
l

(4) Nature of the proceedings Q031 ;_‘C_,E \)QC§"!C g p\ €~1‘\ az

(5) Grounds raised:

9 O<zv\?¢m\ @Q- Q§-`l~`e,c,-\\\)e assis~lem¢e_ OQ- 'l~du\ et\/\<\ l\c\)§)z\\o\\€
COumSz\

09 Oev‘\\c,\\ 01 t`\o\\'\\- \OQ ADQQO`\

35 $lc~lu\re <’)l\\~ Y»rv\\lcr\\<rv\% on cetml~">(l 3>

"> (<mvu%\vlc\ sr€‘i?)\\r\¢\<:\r\\/

%>Slule<s O\o\\uo`\tcm 10 Scoo\\/ t”c><w€i`>l@_§\ d¢€‘>CG\/U`\/

65 C<z~r\@\t¢\ 62 mire<~€%i~

j>€ev\€,¥vld\~\orx@\ F`\S\v\\~‘~» \!ic>\c`\*ior\‘?>

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, applicaticn, or motion?

[:l Yes El/I:Io

(7) Result: man ,`&(1 _
(8) Date of result (if you know): ce\),(~u CM\ `/ 1 l 93 169
l .

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 4 of 16

AO 241 Page 5
(Rev. 01/15)

(b) lf you filed any second petition, application, or motion, give the same information:
(l) Name of court: ufio`\,\ <Ou (. _\ 6 9 m;\)§)e_&\ aj
(2) Docket or case number (if you know): 901 606 3 '7 ~ <5 C_
(3) Date of filing (if you know): m d C,\ 1 196[ Q,
¢.J

(4) Nature of the proceeding:

(5) Grounds raised: 6 0(1,)') 1‘_§§¢ CS U \?C P

 

 

 

 

 

 

 

 

 

 

 

(6) Did you receive a hearing Where evidence was given on your petition, application, or motion?

l:l Yes lZl/No

(7)Result: DC),“‘\€J\ m¢j\\\@,~\ 5va Se.~`¢ O-S:A€_

(8) Date of result (if you know): ,¢ 1 `, g l Q

(e) If you filed any third petition, application, or motion, give the same information:

(1)Name of court:

 

(2) Docket or case number (if you know):

 

(3) Date of filing (if you know):

 

(4) Nature of the proceeding:

 

(5) Grounds raised:

 

 

 

 

 

 

 

 

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 5 of 16

AO 241 Page 6
(Rev. 01/15)

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
l:l Yes U'/No
(7) Result:

 

(8) Date of result (if you know):

 

(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition, application,

or motion?
(1) First`petition: IJ Yes |'_'l No
(2) Second petition: El Yes El No
(3) Third petition; cl Yes \:1 No `

(e) lf you did not appeal to the highest state court having jurisdiction, explain why you did not:

 

 

12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts `
supporting each gi‘ound.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available

state-court remedies on each ground on which you request action by the federal court. Also, if you fail to set
forth all the grounds in this petition, you may be barred from presenting additional grounds at a later date.

GROUND ONE: 'Tn<’Wec~lt ve ._/»~\s>¢s;:s\~oev\c e 0 il c QLJ¢/\<; re l_,

 

(a) Supporting facts (Do not argue or cite law Just state the specific facts that support your claim.):

"P¢L\C E)er;c>eo$>€ Cc;»un$¢>l Qca\\,@.é, \~Q~) O\`e;§_¢.,\r\\t ‘DVOMW\\%QA xY<’fé$\c~\~¢Y\<£sv’\y

\AC BCCO~\)';'>€. Co>ot\$@\ Ce,_\\e; x~@ '\Di~\ee,e<'\\‘ Q,\<¢\J\'\>o§i M`/»/ Cu\¢\er\<lc. _
”:\`f-¥C l?)e<_o`o3e cit use ‘ §v<`»"\r\\)@_%&.\mot\\e earth 'Dre$e,v\l SL)\)Sl-o\v\\ie~\ N\~“i&x\® Q°‘Qgtqi
’\`FK <’oun‘>`e\$’ C<»\\\Jre \r¢> Cc~\\ mike w\ v\e,'s‘>c§

'W\C OO¢>rzwe`r d \)\/\AQ<~ O\v\ O~u\uo\\ Cov\©\\c\- alj mx€_€€»%X

l/t(_ foun§el$ §:~.»`\Jr~e \e reu~etu wm \v\:€»`cr»\rc,\~m\% ,,

/l"\i‘i‘€,:l_: @D/»l. Qé\\(x\o\\ \¢i\».(kv\ \/ACA» l cl\'l@ l§)\i'_\r\\ W\\ @m lte-`Cc>r\ ¢:J\A Mirgé_e\ C\

,\:'of »`»'\A \.l AOO~\ 3 ws\\~~\\r\cv\\¢>~\\\\\€ 5

(b) If you did not exhaust youi state remedies on Ground One, explain hy:

 

 

 

 

 

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 6 of 16

Ao 241 ' rage 7
(i<ev. 01/15)

(c) Direct Appeal of Ground One:
(l) If you appealed from the judgment of conviction, did you raise this issue? 13 Yes [B/No

(2) If you did not raise this issue in your direct appeal, explain why: § ?Q_`~ \\, [ z O.Q QQQ 52 §§ ; ` 2

/'\i'i<brv\e\l/ iep T€ro?.ec \\l/ `DI`\\Q?- é€Q€)/\ACW\ 1v"> C,\o§\w\‘§

 

(d) Post~Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

Mes ll'l No

(2) If your answer to Question (d)(l) is "Yes," state:

Type of motion or petition: p0 31 C 0 h u\`¢x§ mn PQ\.\`; Q V` 63 5 ¢~_

Name and location of the court where the motion or petition was filed: Q;ML\M,\ 913sz L_\ f 0 v sr x
cng €G»S~\» '\lw\/ 110 \/ev Am\ ` \ )lc>`\'\ SA'/él 7 §

Docket or case number (if you know): \ QGS~(>O 0 6 L[

Date of the court's decision: gay (= `

 

 

 

Result (attach a copy of the court's opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion or petition? \'_'l Yes M
(4) Did you appeal from the denial of your motion or petition? l:l Yes @/Nb

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? |Il Yes l'_'l No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court's opinion or order, if available):

 

 

 

(7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
Cert~\rruc,k» elliot v\e \{/ gov L>-\ci\\ %\o~\e, .Dci$‘>ov\ & dut$ze§ ~\-“\'\<?L\- 11
c§\ £ CC>£B) Y\'w\»`~c>r\ irc recite a 5a <X_SL, palm sam ~ °l~\¢\ew> \a\l)
--\~`l¢v\e ioan v\.:)) dog evidcx\/\ 13 A’\\)Qec\\ g

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/1_7 Page 7 of 16

AO 241 Page 8
(Rev. 01/15)

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

used to exhaust your state remedies on Ground One: wh 0 ‘,\ é(§ g /A`»)on`\ X_O lr\/\ g \> x&\/\
\ \

(Qu< jr c> § Q\GQQ¢ai.S

 

GROUND TWO= pmao)\~€> ¢`\ c*,\\, ‘€`€\\\3€!.5 haw C`.\

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.)® P - OU`€_ QFCJC,€_EB':.>)

D@ c?@lcx\en\ \v:>ecm.>¥se "\)<~<:><3 eggsth Socgt\>-refi";e`§ €),<QQLL\<_:__\/AQA;\QLL

9" U$w\a\~eé les@co-\wv\ SmovesseA eci§anc£_ts_malid l le mint
’\7? \/`»c\c'~\e<` Qrc.‘>gw\-on_ wi\r\"\\r\é\& eu~¢§r€v\(e 10 A?<z ve>~‘\~ “XQ\QS \<(e\l/ bci Lv\eSS

\`»>t) \i`lwlc?\x~€,; ?m%eu)\`\lcr\ `DF¢»SM\L‘¢A S£oec\r? '\~e‘$\_mmv\\/

l?m§r)€u-\\m/\<z W\ S("cv\c\\:<’_\~&rré»¢ \M>`>_\ S<)M§\cm\x\tx\ Ow\é\v\ \ v\épg;“;¢;;\§ §§ K€L\.,,

*;*\'\\c~\~ Av\CeA_eA \~\r\@ \v\\~em`l)\\/| 6c Ovcde€xmo.%
“'Fj~l~€\'L` QD/~\ @@\nc;\)i \XQ\\QV\Q¢~\~ 16173 l?/¥\W\\,u

 

 

 

(b) If you did not exhaust your state remedies on Ground Two, explain why:

 

 

 

 

(c) Direct Appeal of Ground Two:
(l) If you appealed from the judgment of conviction, did you raise this issue? l:| Yes E/`No

(2) If you did n_ot raise this' issue in your direct appeal, explain why: MZQ€“‘O`\_Q {AX,\G c v\ Q\/ /

Qa.,.\@,,X keel ('QMQ.Q€\~{ \Ot`\\ €§» ex(°@ev\c\ c\C?~v\\§_C/X®M_._`

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion cr petition for habeas corpus in a state trial coult?

Zés EI No

(2) If your answer to Question (d)(l) is "Yes," state:
Type ofrnotion or petition: ‘!B, 5 l _,C"c'n ! 13 f \§ 6 3a § ?Q,§\ §'\\ 3 '\\g m C,% C

Name and location of the court where the motion or petition was tiled: EY; § § § § )\E\ § [ c § CC“_) A`

‘*i.Qw<~ \~\m\(/ Llo \/ecm\ ola\,\ $;‘lo'?

 

Docket or case number (if you know): /\ 310 813 w 6 53 L/
Date of the court's decision: go l 69

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 8 of 16

AO 241 Page 9
(Rev. 01/15)

 

Result (attach a copy of the court's opinion or order, if available): Jvci Q\ 6 02 md Q_ 3 (')@ yi_\\`OV\
\/ l

 

 

(3) Did you receive a hearing on your motion or petition? ['_| Yes lZ/_l\lo
(4) Did you appeal from the denial of your motion or petition? El Yes |I/No
(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? [:l Yes El No

(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

 

Date of the court's decision:

 

Result (attach a copy of the court's opinion or order, if available):

 

 

 

(7) If your answer to Question (d)(4) 01 Question (d)(5) is "No," explain why you did not raise this issue:

C)~l¢\\r\ C<SLOM\€. /‘t>r\.“>ov\ (e§v\lm€_\` Alxotv\~e\/F> (X`\U\l%€ g er’J
§§ \~e C>C> CB§ 10 t`ecu§`>e ®o;cic»:, QQ,\U`SCM\ \ v\& '\~eocd
C’)Q- A\D§`)O<:».\\\\A§ ~

 

(e) Other Remedies: Deseribe any other procedures (sueh as habeas corpus, administrative remedies, ete.) that you

 

have used to exhaust your state remedies on Ground Two : 630 ( 35

 

 

 

GROUND THREE‘ §§ €>v\ `\Qt COo/\\ budc¢t Cx\C_ et co <(%\ ~'

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support youi claim ) ®l 5__ Due, 'Q¢.~`o(g§`§>)

WP Uv®\€h\c>\o»l Cc\\'\\)»(.-\\crv\ <‘.>§: §§€v\§<ld\\ \x)t\\\ut)\ Dfok\\v\c\ LC»L,\-\ Q,\Q\N\Q\I\_dr Og; C,`(`\YT\Q\
§?\)? G\Oxed `f>\/ Doé\c_`\o`\ Pa\cq> cw\k Ova\od\<‘_é~ ")
W \13¢>\¢»~\@<\ \:)\l o@mev.s Q.`t\o<@ 'xo ’\)v<>\)\§e vt>@e\$ %umw..<s%<»¢\
\Y\> \)71<:\\&\¢£:§ \O\r §ooidi€ dec&)cu'd\/ 0\)€\ Sc>UQ,\“e~¢\\l\-X\l ' v ,
O? \F~o\@~\e d lime$ \chle~\ \10\\\4 Ltv\&\/ iep (`€‘c\$cv\c§)\\/ W`
99 '\/»e\c\\»ed b hew \'\e\$ Devscw\o~\ \<§/\cw\er\eu> OQ §`\<£)¢\_e§ @\>`~>~e\/\Lf’ Q~LL~\S c(`
535 adea C~s, e\\;.\>.,.»\/Q,v` m \\\sd Co»s~e.,

AO 241
(Rev. 01/15)

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 9 of 16

Page 10

(b) lf you did not exhaust your state remedies on Ground Three, explain why:

 

 

 

 

 

(C)

(d)

Direct Appeal of Ground Three:

 

(1) If you appealed from the judgment of conviction, did you raise this issue? ij Yes M
(Z§If you did not raise this issue in your direct appeal, explain why: _ 9&\ y D}\:\_OH,\ e \/
Q~\\ex iv® PWD~Q e\\/ gm 69 é@Qev\ v\‘~S C_\<L\W\S/

 

 

Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes El No

(2) If your answer to Question (d)(l) is "Yes, " state:

Type Ofmotion Or petitions OC\‘S CCS\’\\l \ lC`,X\ Ol’\ M \\\O ¥\ 61 E) §
Name and location of the court whe1e the motion or petition was filed: Q…\ \\\ D;\Sxp\e\ w 0 v \v

chao 69ng \'\w»{ L{() \}€(v\q\ \)~\-G\\/\ gtl\(§~i g

Docket or case number (if §!ou know): \ Q 0 wwé; L/ _

 

 

 

Date of the court's decision: ` 220 l (,

Result (attach a copy of the court's opinion or order, if available): a V\‘\` e_ x 9 A. § §§ ;\G l

(3) Did you receive a hearing on your motion or petition? ij Yes Mo
(4) Did you appeal from the denial of your motion or petition? ij Yes E’No

(5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? Cl Yes El No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

 

Date of the court's decision:

 

Result (attaeh a copy of the court's opinion or order, if available):

 

 

 

 

Case 2:17-cV-00985-TC Do'Cument 1 Filed 08/31/17 Page 10 of 16

AO 241 Page ll
(Rev. 01/15)

(7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:

\1\0\\(\ SXC\Q‘Dms¢m Con\m¢\@ &X\C>w\a\/ A§ui%‘a§
620 3 ~i°/ fcci)s~e dane /\>Q/\er':$c»r\ !\J`C'i /500@0»\

 

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

have used to exhaust your state remedies on Ground Three: 6 G(B) @wpck\ U .Lk\,\ (`Om` L
\ \ ‘ ‘

09 Qppea t§

 

GROUNDFOUR‘ C\G~\\rv\% C',)Q TV\BU®LC_\€ n\_~ €\J\(\QV\(` €i~

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support you1 claim. >GD '\D~: 'D\J g 'Prgcg§§\

'\)l) \i»o\c»xez <:m\\/ &\)\A@nc€ \\\&v.\\€\e\ AQQU\A<:M/\\F \r€) C,tw\/v\€ W<A§
C\rc;\)~rv\$€xexf\x\\ &\ C~v\§ \v\QQre\/\CQS doc O\\J\\\¢ ud€&€ SDQCQ\QL\}€¢
i)(\)\)vo\cz`\e>. Sia\e A\; v'\o\» \;)m\)\\e §u\\ ®~v\l Q<L\v \/\Qc)\\‘\v\(>\

jc»@’ QQML\GW; QLC\>S

--ri\\@u nos tz@\,\a\s\\@§m\ cat 1@17."5 DA.M\

 

 

(b) If you did not exhaust your state remedies on Ground Four, explain why:

 

 

 

 

 

(c) Direct Appeal of Ground Four
(1) If you appealed from the judgment of conviction, did you raise this issue? |Zl/Yes lZl No

(2) If you did not 1aise this issue in our direct appeal, explain why: _/\Q’DQ\\G\\€ A\XG§ v\ €\/
g:»`/:v\~€(\ \V\ \/\\:5 %f\\/€Q-\\/\u\ x® Q;…€V\( ,\'\\\V C/\\.QV\.Q`.¢

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

Q/Yes El No

(2) If your answer to Question (d)(l) is "Yes," state:

Type of motion or petition: ` 0 v \ _ “ ~"`C.. \0 ")Q_ \&\ m Cg 5 (

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 11 of 16 s

AO 241 ' Page 12
(Rev. 01/15)

  

Name and location of the court where the motion or petition was filed:

CNZU Q,u$‘i iiw~./ l’i(,) \//.etv\o\\ Oio\\r\ bmi 7X

Docket or case number (if ygu know): \ Q@ XC>©O é L-[
Date of the court's decision: ‘QC) [ 6

Result (attach a copy of the court's opinion or order, if available): gen °\E § ) 2 § §§ §§ g m

 

 

 

(3) Did you receive a hearing on your motion or petition? Cl Yes M
(4) Did you appeal from the denial of your motion or petition? ij Yes Mo

(5) lf your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? EJ Yes \'_`l No
(6) If your answer to Question (d)(4) is "Yes," state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

 

Date of the court's decision:

 

Result (attach a copy of the court's opinion or order, if available):

 

 

 

 

(7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:

\1\&\\ `\J\e~\< '§c§sm\ C¢>v\\m¢\e \f\vmv\€\/ (h/\Siro<‘_.\e ¢i AQQ€M\¢KV\ i~

is i\\\@ CC)B -W\oi»tov\ ic t`ec,u)<\é <\1;90 pe.~\M£c)»/\
ceq/ci t/tc)~i D|f)()r/c~\

 

 

 

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc. ) that you

have used to exhaust your state lemedies on Ground Four: 59 64 m § gp § § } g § §§ ( g 3 § §

c:>i: oQ®Q<:)»\§

 

 

 

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 12 of 16

AO 241 Page 13
(Rev. 01/15)
13. Please answer these additional questions about the petition you are iiling:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
havingjurisdietion? M/Yes Cl No

If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

presenting them:

 

 

 

 

(b) Is there any ground in this petition that has not been presented in some state or federal court? If so, which

ground or grounds have not been presented, and state your reasons for not presenting them:

 

 

 

14. Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge in this petition? EI Yes @/§ob
If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues
raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy

of any court opinion or order, if available.

 

 

 

 

 

 

 

 

15 . Do you have any petition or appeal now pending (f`lled and not decided yet) in any court, either state or federal, for
the judgment you are challenging? EI Yes EB/No

lf "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

raised.

 

 

 

 

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 13 of 16

AO 241 Page 14
(Rev, 01/15)

16. Give the name and address, if you know, of each attorney who represented you in the following Stages of the
judgment you are challenging:
(a) At preliminary hearing: LO\V\ C ‘,, t'_)<<;\r.\
f$¢( wes--i~ marin Su"\ie 369 U'cr martin \~ §’fC/O 7 5
(b) At arraignment and plea: [__ C;\n g a \D QO`V\
t3°( west W\.v\ ge`.\a ;z@ z vecv\a\\, \j l 5>~,'0 ag/
<C)Attrial= er:w\ s‘.`A,W-at\ /
gsa was t main sex te aaa carmen o t saw 7 ar
(d) At sentencing: LC}\V\ de Q ecl\v\
§§E,,| l §/.\! l )
w Win <e> On M»M\ n wmata n _ faa esa >< a 13
"'\T» wm®\`w%-\OV\ gilmer C"t Jr\l//, \)e)e":d>\/\`\v\ %\~Q) V'\ QiO\ \Q“(

 

 

 

 

 

(f) In any post-conviction proceeding: Pr~@._` 3 ge
(g) On appeal from any ruling against you in a post-conviction proceeding: pr 0 __ <_»3 me

17 . Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? l'_'l Yes I/No

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

 

 

 

(b) Give the date the other sentence was imposed: A//'§'
" l

 

(e) Give the length of the other sentence: M, ll

 

(d) Have you filed, or do you plan to tile, any petition that challenges the judgment or sentence to be served in the
future? E| Yes El No
18. TIl\/IELINESS OF PETITION: If yourjudgment of conviction became final over one year ago, you must explain

why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does not bar your petition.*

 

 

 

 

 

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 14 of 16

AO 241 Page 15
(Rev. 01/15)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(d) provides in
part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to thejudgment of a State court. The limitation period shall run from the latest of -

(A) the date on which the judgment became final by the conclusion of direct review or the expiration
of the time for seeking such review;

(B) the date on which the'impediment to filing an application created by State action in violation of
the Constitution or laws of the United States is removed, if the applicant was prevented from
filing by such state action;

(C) the date on which the constitutional right asserted was initially recognized by the Supreme Court,
if the right has been newly recognized by the Supreme Court and made retroactively applicable to
cases on collateral review; or .

(D) the date on which the factual predicate of the claim or claims presented could have been
discovered through the exercise of due diligence.

 

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 15 of 16

AO_ 241 Page 16
(Rev. 01/15)

(2) The time during which a properly filed application for State post-conviction or other collateral review with
respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
under this subsection.

Therefore, petitioner asks that the Court grant the following relief:

 

 

 

or any other relief to which petitioner may be entitled.

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for

Writ of Habeas Corpus was placed in the prison mailing system on ' ‘7.;ZL/ __ / "7 (month, date, year).
Executed (signed) on '2‘,_ 2\{ _ t "'] (date).
//¥

    

 

/ Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.

 

 

 

 

1
v

AO 241
(Rev. 01/15)

10.

Case 2:17-cV-00985-TC Document 1 Filed 08/31/17 Page 16 ofé§CFZVF:D CLERK

/-‘."'f_?§ " 7 2017

Page 1

U.S. "l~liCT COURT

Petition for Relief From a Conviction or Sentence
By a Person in State Custody

(Petition Under 28 U.S.C. § 2254 for a Writ of Habeas Corpus)

Instructions

To use this form, you must be a person who is currently serving a sentence under a judgment against you in a state
court. You are asking for relief from the conviction or the sentence. This form is your petition for relief.

You may also use this form to challenge a state judgment that imposed a sentence to be served in the future, but
you must fill in the name of the state where the judgment was entered. lf` you want to challenge a federal judgment
that imposed a sentence to be served in the future, you should file a motion under 28 U.S.C. § 2255 in the federal
court that entered the judgment

Make sure the form is typed or neatly written.

You must tell the truth and sign the form. lf you make a false statement of a material fact, you may be
prosecuted for perjury.

Answer all the questions. You do not need to cite law. You may submit additional pages if necessary. lf` you do
not fill out the form properly, you will be asked to submit additional or correct information. lf you want to submit a
brief or arguments, you must submit them in a separate memorandum »

You must pay a fee of $5. lf the fee is paid, your petitipn will be filed. lf you cannot pay the fee, you may ask to
proceed in forma pauperis (as a poor person). To do that, you must fill out the last page of this form. Also, you
must submit a certificate signed by an officer at the institution where you are confined showing the amount of
money that the institution is holding for you. If your account exceeds $ 9.00 , you must pay the filing fee.

ln this petition, you may challenge the judgment entered by only one court. lf you want to challenge a judgment
entered by a different court (either in the same state or in different states), you must file a separate petition.

When you have completed the form, send the original and _ 1 copies to the Clerk of the United States District
Court at this address:

Clerk, United States District Court for the District of Utah
351 South West Temple
Salt Lake City, UT 84101

lf you want a file-stamped copy of the petition, you must enclose an additional copy of the petition and ask the court
to file-stamp it and return it to you.

CAUTION: You must include in this petition all the grounds for relief from the conviction or sentence that
you challenge. And you must state the facts that support each ground. If you fail to set forth all the grounds
in this petition, you may be barred from presenting additional grounds at a later date.

CAPITAL CASES: If you are under a sentence of death, you are entitled to the assistance of counsel and
should request the appointment of counsel.

